                                                                       THIS ORDER IS APPROVED.


                                                                       Dated: December 9, 2022



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                                                                       Scott H. Gan, Bankruptcy Judge
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                         IN THE UNITED STATES BANKRUPTCY COURT

 6                                  FOR THE DISTRICT OF ARIZONA
 7
      In re:                                            In Proceedings Under Chapter 13
 8
      JERRY ALLEN CLARK, JR. and                        Case No. 2:19-bk-13992-SHG
 9
      PATTI ROBINSON CLARK,
10                                                      ORDER GRANTING MOTION TO SET
                         Debtors.                       ASIDE ORDER ON TRUSTEE’S
11                                                      OBJECTION TO CLAIM NO: 003
12

13             The Court having considered the Trustee’s Motion to Set Aside Order on Trustee’s
14   Objection to Claim No: 003 (DN 66) and Notice of Withdrawal of Objection Thereto (DN 70),
15   filed by Edward J. Maney, Chapter 13 Trustee, and for good cause appearing,
16             IT IS HEREBY ORDERED that the Order on Trustee’s Objection to Claim No: 003,
17   entered at Docket No. 66, is hereby set aside.
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19                                    SIGNED AND DATED ABOVE
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